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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                    Plaintiff,                 )
                                               )                8:09CR401
      vs.                                      )
                                               )                  ORDER
MARIA E. VALENCIA,                             )
                                               )
                    Defendant.                 )


      On the court's own motion,

        IT IS ORDERED that the jury trial now set for January 26, 2010 is cancelled. A new
trial date will be set by further order, in accordance with the Speedy Trial Act.

      DATED January 19, 2010.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
